   Case 2:20-cv-09388-CAS-PD Document 139-15 Filed 09/21/22 Page 1 of 6 Page ID #:527

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

                         Yalcin Ayasli                              )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No. 2:20-cv-09388-CAS-PD
                                                                    )
            Sezgin Baran Korkmaz; Lev Aslan                         )
         Dermen; Jacob Ortell Kingston; Isaiah                      )
            Elden Kingston; Fatih Akol; Kamil                       )
        Feridun Ozkaraman; (See Attachment #1)                      )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION
                                                    ON THE FIRST AMENDED COMPLAINT
To: (Defendant’s name and address) Sezgin Baran Korkmaz
                                           Davis County Jail
                                           800 W. State St.
                                           Farmington, UT 84025
                                           See Attachment #2



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Kevin M. Lally, Esq.                      Robert H. Miller, Esq.
                                           355 S. Grand Avenue, Suite 4200    1000 Elm Street, 17th Floor
                                           Los Angeles, CA 90071              Manchester, NH 03110




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
    Case 2:20-cv-09388-CAS-PD Document 139-15 Filed 09/21/22 Page 2 of 6 Page ID #:528

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-09388-CAS-PD

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case
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                                          Filed
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                                                                                 #:529




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       klally@mcguirewoods.com
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       SHEEHAN PHINNEY, PA
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       Robert H. Miller, Esq. (Admitted Pro Hac Vice)
     7 1000 Elm Street, 17th Floor
       Manchester, NH 03110
     8
       603-627-8145
     9 rmiller@sheehan.com
   10
                            UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12
         Yalcin Ayasli,                          CASE NO. 2:20-cv-09388-CAS-PD
   13
                           Plaintiff,
   14
               v.                                VERIFIED FIRST AMENDED
   15                                            COMPLAINT
         Sezgin Baran Korkmaz; Lev Aslan
   16    Dermen; Jacob Ortell Kingston; Isaiah
         Elden Kingston; Fatih Akol; Kamil
   17    Feridun Ozkaraman; Washakie
         Renewable Energy, LLC; SBK
   18    Holdings A. S., Inc.; SBK Holdings
         USA, Inc.; Bugaraj Elektronik Ticaret
   19    ve Bilisim Hizmetleri A.S.; Mega      JURY TRIAL DEMANDED
         Varlik Yonetim A.S.; Alptekin Yilmaz;
   20    Olessia Zoubkova; Bukombin Bilisim
         ve Teknoloji Anonim Sirketi; Noil
   21    Energy Group, Inc.; Speedy Lion
         Renewable Fuel Investments, LLC;
   22    G.T. Energy, LLC; United Fuel Supply,
         LLC; Isanne, Biofarma Ilac Sanayi ve
   23    Ticaret A.S.; Blane Teknoloji
         Sistemleri Sanayi Ve Ticaret Anonim
   24    Sirketi; Stone Isi Yalitim Sanayi Ve
         Ticaret Anonim Sirketi; and Komak Isi
   25    Yalitim Sistemleri;
   26                      Defendants.
   27
   28

                                 VERIFIED FIRST AMENDED COMPLAINT
                                          Attachment
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                          Yalcin Ayasli v. Sezgin Baran Korkmaz, et al.
                                    2:20-cv-09388-CAS-PD

                               ATTACHMENT #2 TO SUMMONS

   DEFENDANTS TO BE SERVED:

   LEV ASLAN DERMEN
   3415 S. 900 West
   South Salt Lake, UT 84119

   JACOB ORTELL KINGSTON
   1400 Depot Dr.
   Ogden, UT 84404

   ISAIAH ELDEN KINGSTON
   2840 W. Allred Circle
   Taylorsville, UT 84129

   FATIH AKOL
   11 Danberry Drive
   Ringoes, NJ 08551

   SEZGIN BARAN KORKMAZ
   800 W. State St.
   Farmington. UT 84025

   WASHAKIE RENEWABLE ENERGY, LLC, A UTAH CORPORATION
   3950 South 700 East, Suite 100
   Salt Lake City, UT 84107

   SBK HOLDINGS USA, INC., A CALIFORNIA CORPORATION
   644 S. Figueroa Street
   Los Angeles, CA 90017

   NOIL ENERGY GROUP, INC., A CALIFORNIA CORPORATION
   5801 Randolph Street
   Commerce, CA 90040

   SPEEDY LION RENEWABLE FUEL INVESTMENTS, LLC, A CALIFORNIA
   CORPORATION
   200 N. Maryland Avenue, Suite 300
   Glendale, CA 91206
Case 2:20-cv-09388-CAS-PD Document 139-15 Filed 09/21/22 Page 5 of 6 Page ID #:531




   G.T. ENERGY, LLC, A NEVADA CORPORATION
   710 E. D Street
   Wilmington. CA 90744

   UNITED FUEL SUPPLY, LLC. A UTAH CORPORATION
   670 E. 3900 Street, Suite 300
   Salt Lake City, UT 84107

   SBK HOLDINGS A.S., INC.
   Sarıyer Reşitpaşa Mah. Eski Büyükdere Cad. No: 14 K: 9 / B Maslak
   Istanbul, Turkey

   BUGARAJ ELEKTRONIK TICARET VE BILISIM HIZMETLERI
   İnönü Cad., Hoşgör Sok. No: 3, Çeliktepe, Kağıthane
   Istanbul, Turkey

   MEGA VARLIK YONETIM A.S.
   Beylerbeyi Mahallesi Iskele, Cad No 16/1 Beylerbeyi Uskudar
   Istanbul, Turkey

   BUKOMBIN BILISIM VE TEKNOLOJI ANONIM SIRKETI
   Maslak Mah. Dereboyu Cad. Zagra Is Merkezi No:14/C Sisli
   Istanbul, Turkey

   BIOFARMA ILAC SANAYI VE TICARET A.S.
   Akpınar Mah. Osmangazi Cad. No:156, Sancaktepe
   Istanbul, Turkey

   BLANE TEKNOLOJI SISTEMLERI SANAYI VE TICARET ANONIM SIRKETI
   Inonu Cad. No:17 Kat:3 Beylerbeyi Uskudar
   Istanbul, Turkey

   STONE ISI YALTIM SANAYI VE TICARET ANONIM SIRKETI
   OSB Mah. 20 Cad. 3 Odunpazari
   Eskisehir, Turkey

   KOMAK ISI YALITIM SISTEMLERI
   Celiktepe Mah. Inonu Cad. Hosgor Sok. No:3 Kagithane
   Istanbul, Turkey

   ISANNE
   46 Avenue John F. Kennedy
   Luxembourg

   KAMIL FERIDUN ÖZKARMAN
   Citizen of Turkey
Case 2:20-cv-09388-CAS-PD Document 139-15 Filed 09/21/22 Page 6 of 6 Page ID #:532




   ALPTEKIN YILMAZ
   Citizen of Turkey

   OLESSIA ZOUBKOVA
   Citizen of Turkey
